Case 5:23-cv-05105-TLB Document 42 Filed 08/15/23 Page 1 of 5 PagelD #: 328

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS

FAYETTEVILLE DIVISION
NETCHOICE, LLC PLAINTIFF
ATTORNEY: Marshall Ney Erin Murphy
James Xi Joseph DeMott
Vv. CASE NO. 5:23-CV-5105
TIM GRIFFIN, In His Official Capacity as
Attorney General of Arkansas DEFENDANT
ATTORNEY: Justin Brascher Jordan Broyles
JUDGE: TIMOTHY L. BROOKS REPORTER: PAULA BARDEN

COURT CLERK: SHERI CRAIG

MOTION HEARING MINUTES
August 15, 2023

TIME MINUTES

10:08 am Court Convenes

Procedural History by the Court

CX#1 - Joint Stipulations - Stipulated Exhibits of Plaintiff (1-17) and
Stipulated Exhibits of Defendant (1-13) (see attached lists)

Argument regarding Motion for Preliminary Injunction

DW#1 - Tony Allen - expert

Court takes Petition under advisement - order to follow

2:39 pm Court Adjourned

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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF ARKANSAS

NETCHOICE, LLC

Vv.

FAYETTEVILLE DIVISION

CASE NO. 5:23-cv-05105-TLB

TIM GRIFFIN, in his official capacity
as Attorney General of Arkansas

PLAINTIFF’S EXHIBIT LIST

PLAINTIFF

DEFENDANT

PRESIDING JUDGE PLAINTIFF’S ATTORNEY DEFENDANT’S ATTORNEY
Hon. Timothy L. Brooks Erin E, Murphy, Marshall Ney Justin Brascher — Jordan Broyles
James XI, Joseph DeMott .
PI HEARING DATE COURT REPORTER COURTROOM DEPUTY
Aug. 15, 2023 Paula Barden Sheri Craig
1 | 8/15/23 N ¥ \ | Declaration of Carl Szabo (Doc. 17-1)
2 | 8/15/23 N Y \ | Declaration of Antigone Davis (Doc. 17-2)
3 | 8/15/23 | N Y \ | Declaration of David Boyle (Doc. 17-3)
4 | 8/15/23 N Y \ | Declaration of Justyn Harriman (Doc. 17-4)
5 | 8/15/23 N y \ | Apple, Use Parental Controls on Your Child’s iPhone,
iPad, and iPod Touch, https://archive.ph/T68VI
6 | 8/15/23 N Y AT&T, Parental Controls, https://tinyurl.com/3ypvj7bv
7 | 8/15/23 N Y Comcast Xfinity, Set Up Parental Controls for the
Internet, https://tinyurl.com/Sacdsnat
8 | 8/15/23 N ¥ \ | Google Family Link, Help Keep Your Family Safer
Online, https://tinyurl.com/mr4bnwpy
9 | 8/15/23 N Y Google, Safety Center https://tinyurl.com/kwkeej9z
10 | 8/15/23 N ¥ Microsoft, Getting Started with Microsoft Family
Safety, https://tinyurl.com/yc6kyruh
11 | 8/15/23 N ¥ \ | Microsoft, Learn More About Kids Mode in Microsoft
Edge, https://tinyurl.com/59wsev2k

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12 | 8/15/23 N y \ | Ben Moore & Kim Key, The Best Parental Control
Apps for Your Phone, PCMag (Mar. 29, 2022),
https://archive.ph/HzzfH

13 | 8/15/23 N Y \ | Mozilla, Block and Unblock Websites with Parental
Controls on Firefox, https://tinyurl.com/6u6trm5y

14 | 8/15/23 | N Y \ | Netgear, Circle Smart Parental Controls,
https://archive.ph/wip/OGbB5

15 | 8/15/23 N Y \ | Molly Price & Ry Crist, How to Set Up and Use Your
Wi-Fi Router’s Parental Controls, CNET (Feb. 11,
2021), https://archive.ph/wip/uGaN2

16 | 8/15/23 | N Y \ | T-Mobile, Family Controls and Privacy,
https://tinyurl.com/57run7ac

17 | 8/15/23 N ¥ V | Verizon, Verizon Smart Family,
https://tinyurl.com/ycyxy6x6

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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

NETCHOICE, LLC PLAINTIFF
Vv. CASE NO. 5:23-ev-05105-TLB

TIM GRIFFIN, in his official capacity
as Attorney General of Arkansas DEFENDANT

DEFENDANT’S EXHIBIT LIST

PRESIDING JUDGE PLAINTIFF’S ATTORNEY DEFENDANT'S ATTORNEY

Hon. Timothy L. Brooks Erin E. Murphy, Marshall Ney Justin Brascher — Jordan Broyles
James XI, Joseph DeMott

PI HEARING DATE COURT REPORTER COURTROOM DEPUTY

Aug. 15, 2023 Paula Barden Sheri Craig

l 8/15/23 N Y \ | Affidavit of Tony Allen (ECF Doc. 34-1)
1-A | 8/15/23 N Y VY | CV of Tony Allen
2 | 8/15/23 N Y \ | Affidavit of Dr. Karen Farst with incorporated CV

attached as Ex. A

3! 8/15/23 N Y \ | Social Media Fact Sheet, Pew Rsch. Ctr. (Apr. 7,
2021), https://www.pewresearch.org/internet/fact-
sheet/social-media

4 8/15/23 N Y V Fact Sheet; Biden-Harris Administration Announces
Actions to Protect Youth Mental Health, Safety, &
Privacy Online, Off. of the President (May 23, 2023),
https://www.whitehouse.gov/briefing-
room/statements-releases/2023/05/23/fact-sheet-
biden-harris-administration-announces-actions-to-
protect-youth-mental-health-safety-privacy-online/

' Defendant’s Exhibit Nos. 3-13 are being incorporated as exhibits pursuant to Joint Stipulations,
4 5 (“All sources cited in Defendant’s briefing are admissible and may be considered by the Court
as part of the record in this matter.”).

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8/15/23

U.S. Surgeon General, Social Media & Youth Mental
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https://www.hhs.gov/sites/default/files/sg-youth-
mental-health-social-media-advisory.pdf

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FBI Nat’l Press Off., FBI and Partners Issue
National Public Safety Alert on Financial Sextortion
Schemes (Dec. 19, 2022),
https://www.fbi.gov/news/press-releases/fbi-and-
partners-issue-national-public-safety-alert-on-
financial-sextortion-schemes

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https://www.aacap.org/AACAP/Families_and_Youth/
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Teens-100.aspx

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CyberTipline 2022 Report, Nat’| Ctr. for Missing &
Exploited Children (last visited July 27, 2023)
https://www.missingkids.org/cybertiplinedata

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2022 CyberTipline Reports by Electronic Service
Providers (ESP) 1, Nat’! Ctr. for Missing &
Exploited Children (2023),
https://www.missingkids.org/content/dam/missingkid
s/pdfs/2022-reports-by-esp.pdf

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The Online Enticement of Children: An In-Depth
Analysis of CyberTipline Reports 4, Nat’| Ctr. for
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s/pdfs/nemec-
analysis/Online%20Enticement™20Pre-Travel.pdf

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Sextortion, Nat’! Ctr. for Missing & Exploited
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https://www.missingkids.org/theissues/sextortion

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How Do We Know Someone Is Old Enough to Use
Our Apps?, Meta (July 27, 2021),
https://about.fb.com/news/202 1/07/age-verification/

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About Us, NetChoice (last visited July 27, 2023),
https://netchoice.org/about/

